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Memorandum dated December 17, 2012, from Constance E. Bagley to Provost

and President-Elect Peter Salovey in Response to the Review Committee

- Report Dated November 28, 2012, Concerning Her Non-Reappointment as

. Professor in the Practice of Law and Management- ~~ ~~" 7 70
I would like to begin by thanking the distinguished Review Committee chaired by Professor
Harte (the “Harte Committee” or “Committee”) for its work in connection with my appeal of the
decision by Edward (Ted) Snyder, Dean of the Yale School of Management, not to renew my
appointment as Professor in the Practice of Law and Management. In this memorandum, I would
like to take the opportunity provided by Section III.L,3(b) of the Yale Faculty Handbook (the

“Faculty Handbook”) to provide a written response to the report by the Harte Committee dated
' November 28, 2012 (the “Harte Report”). Except as otherwise indicated, all references are to the

Harte Report.
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I. Overview

At its core, this is a very simple case, Pursuant to my original appointment letter dated April 8,
2008 (the “Appointment Letter”), a reappointment review committee chaired by Professor Paul

_ .Bracken.(the “Bracken Committee”) examined my “teaching, scholarship, and service. and...
reached a unanimous and positive recommendation for reappointment.” (Para. (5), p. 7.) (My
accomplishments in scholarship teaching, and service are briefly summarizedin Appendix Ato
this memorandum.) Notwithstanding this unanimous recommendation for renewal, the BPO
vote “was clearly negative” (para. (13), p. 4). Dean Snyder notified me in a letter dated May 24,
2012, that he had decided not to renew my appointment and that my position would be
terminated on June 30, 2013. L appealed that decision to you in a submission dated June 19, 2012
(the “Initial Submission”). -

The Committee found evidence that “the report of the review committee was taken as a starting
point for the discussion [of my renewal] and not as binding on the BPO judgment” (para. (6), p.
7). Since Stanley Garstka was appointed the first Professor in the Practice at SOM in 1983, only
two of the eight Professors in the Practice at SOM have ever not been renewed: Professor Frank
Fabozzi and me, Deputy Dean Andrew Metrick advised me in March or April 2012 that the
decision not to renew Professor Fabozzi, which occurred prior to May 30, 2011, was based on
his limited University service, a non-issue in my case.

A. Clearly Untrue and Defamatory Statements Were Made, Compounded by the
Conflicted Roles of the University’s General Counsel’s Office.

Although the Bracken Commitiee evaluated my teaching positively, the Harte Report sfated,
presumably on the basis of testimony from Professor Doug Rae and one or more of the deans,
that (1) there was “a very public meltdown” of the State and Society course I co-taught with
Professor Rae in Spring 2012 (para. (8), p. 7); (2) “the deterioration of the State and Society
course became widely known at SOM” (id.); and (3) there was a “teaching failure” in State and
Society in Spring 2012 (para. (h), p. 11). The Harte Report further stated: “J oint teaching reviews,
we were told, were quite damaging, but no steps were taken to disentangle Professor Bagley’s
role and Professor Rae’s role in the meltdown of the course.” (Para. (8), p. 7.) The Committee
also “heard some evidence that the SOM deans’ understanding of the course’s problems came
primarily from reports provided by Professor Rae.” (id.)

These statements by Professor Rae and one or more of the SOM deans are clearly untrue and
defamatory. As evidenced by the summary of the Spring 2012 State and Society course ratings in
Exhibit 1 and the full set of evaluations in Exhibit 2 (which were available to the SOM deans
prior to.the BPO vote on May 7, 2012, and prior to Dean Snyder’s decision on May 24, 2012 not
to renew my reappointment), the mean overall rating of the course for Spring 2012 was 3.6 and
the median rating was 4.0, both on a scale of | to 5.’ (Exhibits 1— 5 are appended to this
memorandum.) The course had the identical ratings in Spring 2011 (see Exhibit 3). As detailed
in Appendix B, four other core causes taught in the 201 1-2012 academic year by full professors
(including Deputy Dean Rouwenhorst and Professors Goetzmann, Sudhir, and Thomas) had

 

‘ t did not provide these ratings to the Harte Comnnittee both because I assumed that the SOM deans had provided
them and because I had no way of knowing before I received the Harte Report that the SOM deans would
characterize the Spring 2012 ratings as “quite damaging.”
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lower course ratings, yet, to the best of my knowledge, the professors teaching those courses are
still teaching in the core. (See Exhibit 1 for the summary ratings for all courses taught in the

201 1-2012 academic year and Exhibit 3 for the summary ratings for all courses taught in the
2010-2011 academic year.”)

Based on advice from the very same University Office of General Counsel that acted as counsel
to the Harte Committee, the SOM deans announced to the BPO prior to the vote on my renewal
that | would no longer be teaching State and Society without explaining the reasons therefor.’
This deprived me “of the benefit of an unbiased and judicious process of review” (para. (9), p.7),
thereby violating the University’s policies, my employment contract, and the implied covenant of
good faith and fair dealing under Connecticut law. The conflicted roles played by the
University’s Office of General Counsel in this matter (explained farther in Part I11.C), and the
application of the incorrect standard of proof (discussed in Part IiY.A), deprived the Harte
~ Committee of the benefit of independent legal advice and thereby compromised, in my view
fatally, its ability to fulfill the Committee’s prescribed role as neutral fact finder under the
Faculty Handbook, thereby drawing into question both those facts as to which the Committee
expressed ambiguity and those facts found against me.

B. Gender Discrimination

Notwithstanding the potentially compromised nature of the legal advice given the Harte
Committee and the Committee’s consequent application of the legally incorrect and
“unnecessarily high and grossly unfair standard of proof “beyond a reasonable doubt,” the Harte
Couunittee found unanimously that (1} F am the only woman ever appointed to a Professor in the
Practice position in SOM (para. (1), p. 9); 2) “[w]omen are seriously under-represented” on the
faculty of SOM (and more so than in other schools at Yale)” (para. (a), p. 10); (3) I “was exposed
to instances of inappropriate comments and behaviors based on gender” (pata. (2), p. 10); and (4)
there “is evidence that a chilly atmosphere for women did exist at SOM in contexts in which
Professor Bagley was involved” (para (b), p. 11). The Committee made these findings even
though its “charge did not include investigating all instances of sexist comments or practices in
SOM” (para. (2), p. 9). Indeed, the Committee noted: “In addition, some comments were made ©
directly to the Committee as a whole during interviews characterizing Professor Bagley ina
manner that may be deemed offensive to women.” (Para. (2), p. 9,) Even though “[njot every
Committee member viewed every comment that was discussed as offensive” (id.), the
Committee's finding about the “chilly atmosphere for women” was unanimous, Asa result of the
SOM deans’ decision to eliminate my role as co-instructor of State and Society, all five sections
of the State and Society course being taught in the 2012-2013 academic year will be taught by
males. These facts, taken alone, are sufficient to prove gender discrimination in violation of the
University’s policies and applicable federal and state law. They also provide ample evidence that
_ the reason proffered by the SOM deans for the decision not to reappoint me, namely that there

 

2 1 obtained both sets of course ratings by accessing the Yale Schoo! of Management Portal, then clicking on ihe

heading ‘‘Academics” then on “Course Evaluations”), ,

3 professor Rae is co-teaching four sections of the course with Professor lan Shapiro in the full-time MBA program

in Spring 2013, and Senior Associate Dean and Senior Lecturer David Bach is teaching the Executive MBA section

- in Spring 2013. David Bach interviewed at SOM on May 7 and 8, 2012, and joined the administration and faculty as

of September |, 2012. According to the SOM Course Catalogue, the core courses in the full-time and Exccutive
MBA programs are the same.
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were no courses for me to teach, is pretextual and that intentional and illegal discrimination has
occurred in violation of the University’s policies and applicable federal and state law.

C. Breach of Contract and the Duty of Good Faith and Fair Dealing, Possible Negligent
‘Misrepresentation — re en a
The Harte Committee found that when | was recruited to the University by Dean Joel Podolny,
he assured me that renewal of my appointment would be based on my own accomplishments (at
least absent a wholesale change in the criteria for the rank of Professor in the Practice, which the
Committee found did not occur). The Committee further found that I relied on those assurances
to my detriment and to the University’s benefit, Although the Commitice found that the language
in the Appointment Letter on the criteria for renewal was “ambiguous,” had the Committee been
advised that under Connecticut law any ambiguity must be construed against the drafter (in this
case, the University), I am confident that the Committee would have found by a preponderance
of the evidence that the University breached my employment contract when Dean Snyder failed
to reappoint me. Moreover, even if my reappointment was contingent on factors other than my
performance, which it was not, Dean Podolny had a duty to warn me that the language Deputy
Dean Garstka inserted into my Appointment Letter to address this very issue did not protect me
from non-renewal based on changes in programmatic need. The SOM deans had a further duty

_ to alert me fo any changes in the standards for renewal and to protect me therefrom. At a very
minimum, failure to disclose this would constitute negligent misrepresentation and breach of the
implied covenant of good faith and fair dealing imposed into every employment relationship
under Connecticut law.’ Finally, the SOM deans’ failure to engage me in any discussion of the
alleged “public meltdown” of the State and Society course (1) deprived me of my contractual
right to have a fair review of my work and (2) violated the implied covenant of good faith and
fair dealing,

D. Reconsideration of Certain Findings Against Me

It is with great reluctance that 1 request that you ask the Harte Committee to review and
reconsider any findings in the Harte Report asserting ambiguity” or made against me® using the
proper standard of proof, namely, proof by the preponderance of the evidence, and in light of
their obligation to assess the credibility of witnesses, the information provided in this
memorandum, and all applicable law. I cannot see an alternative to this at this point.

 

* See, e.g, Magnan v. Anaconda Industries, Inc., 193 Conn. 558 (1984). ;

5 They include, without limitation, the following: “The reasons for Professor Bagley’s non-reappointment ate not
entirely clear.” (Para, (11), p. 8.) “TWJe cannot conclude whether Yale met or failed to meet its contractual
obligations to Professor Bagley” (para, (a), p. 8). “SOM decision-makers expressed some exasperation at Professor
Bagley’s request for consideration for tenure and for consideration for the Niereuberg Chair. It is impossible to
discern whether the exasperation was gender-inflected and what role, if any, this played in the BPO decision not to
reappoint.” (Para. (8), p. 10.) “There is no conclusive evidence of how, ifat all, the evidence ofa [sic] chilly
environment we did find contributed to Professor Bagley’s non-reappointment, or how, if'at all, gender
discrimination was a factor in that non-reappointment.” (Para. (e), p. 11.) Note that this last clause reflects a finding
of gender discrimination because the Committee did not include the words “if'any” after “gender discrimination.”
‘They include, without limitation, the following: “The Committee finds no evidence that Professor Bagley’s denial
of the Nierenberg Chair or of a tenured position was the result of gender discrimination.” (Para, {d), p. 1}
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Ii, Factual Findings by the Harte Committee Stipulated as True
A, Findings |

_ The Harte Committee found, and | am hereby willing to stipulate them as true, the following
facts:

1. According to testimony before the Harte Committee or documents produced by the SOM
Dean Snyder, “In 2011-12, none of the SOM leaders involved in Professor Bagtey’s
reappointment process (Dean Snyder, Deputy Dean Metrick and Professor Paul Bracken, the
chair of Professor Bagley’s reappointment evaluation committee) reviewed or were aware of
Professor Bagley’s employment letter.” (Para. (7), p. 7.) If true, this means that my employment
terms had no bearing on their decision. (As explained in Part VI.G, there is conflicting evidence
on this point.)

2. “[T]he BPO was not given a full account of the SOM’s contractual obligations to Professor
Bagley . ..” (para, (12) [second], p. 8).

3. “Considerable lack of clarity and transparency in appointment criteria and processes exist
within SOM Faculty Handbook policies.” (Para. (d), p. 4.) “What is clear is that a shift in
standards [at SOM for Professor in the Practice} was not clearly articulated by the leadership of
SOM or communicated to. Professor Bagley prior to the decision on her reappointment.” (Para.

(5), p. 10.)

4, “{T}here is no doubt that Professor Bagley relied, to her detriment, on then-Dean Podotny’s
representations that her own accomplishments would be the basis for reappointment, absent a
wholesale (and presumably, transparent) effort by the faculty to revise standards for all
Professors in the Practice,” (Para. (b), p. 8.) “Yale benefitted from Professor Bagley’s reliance”

. and from “the ambignity of the employment letter” (para. (c), p. 8). Moreover, “SOM’s process
failures compound the unfaiiness of construing the ambiguous employment letter to Professor
Bagley’s detriment” (para. (e), p. 8), I hereby submit that this finding of unfairness is alone
sufficient to justify renewal without reference to the lar Bet issues raised by the Harte

' Committee’s findings.

5, Although the Committee stated that “[{T]he reasons for Professor Bagley’s non-reappointment
are not entirely clear” (para. (11), p. 8.), presumably beyond a reasonable doubt, the Committee
then listed as the first possible reason the alleged issues surrounding the State and Society
course, (id.) The Committee found, however, that “SOM had not initiated any systematic review
either of the [State and Society] course as a whole or of the particular course taught by Professor
Bagley and Professor Rae [that is, the Spring 2012 version of that course] priot to the May 7,
2012 BPO meeting” (para. (10), p. 7.). ,

6. Based on “the recommendation by the General Counsel,” Dean Snyder and Deputy Dean
Metrick decided “to terminate Professor Bagley’s role in the State and Society course and to
announce that termination to the BPO” (para. (9), p. 7), apparently at the very meeting at which
the vote on my contract renewal was taken, without “communicat[ing] to the BPO the reasons
for terminating Professor Bagley’s role as co-teacher in the State and Society course” (para. (12),
p. 8) or giving me an opportunity either to assert my contractual rights or “to defend, in a
systematic way, [my] conduct amidst the [alleged] deterioration of the State and Society course”
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(para. (12), p. 8). The decision to terminate my role in the State and Society course “without
giving Professor Bagley or the BPO a clear account of the reasons” (para. (12), p. 8) “seems to
have deprived Professor Bagley of the benefit of an unbiased and judicious process of review”

(para. (8), p. 7).

7, The Committee members stated that they were “not aware of the reasoning forthe
recommendation bythe General Counsel.” (Para. (9), p. 7.) Thus, the SOM deans elected not to
explain the General Counsel’s reasoning to the Harte Committee in what I assume was an
invocation of the attorney-client privilege even internally within the University’s own review
structure. .

8. “Had Professor Bagley been able to assert her view of her contractual rights and to defend, in
a systematic way, her conduct amidst the [alleged] deterioration of the State and Society course,
she and the school’s leaders might have come to a different and mutual understanding about the
defensible contouts of the rights granted by the employment agreement,” (Para; (12) [sic], p. 8.)

9, | am the only female Professor in the Practice at Yale School of Management.

10. “{W]Jomen are underrepresented at the senior level in SOM both relative to men in SOM
_ (over 90% of the senior faculty in SOM are male) and relative to the percentage of women at
senior ranks in most other units of the university.” (Para. (1), p. 9.) I would add that not one
woman has been granted tenure at SOM since Fiona Scott-Morton was promoted to full
professor in 2002,

11. “Professor Bagley was exposed to instances of inappropriate comments and behaviors based
on gender.” (Para. (2), p. 10.) Indeed, “some comments were made directly to the Committee as
a whole during interviews characterizing Professor Bagley in a manner that may be deemed
offensive to women.” (Para. (2), p. 9.) .
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JIE, The Applicable Burden of Proof and Production, and the Conflicted Roles Played by
‘the University Office of General Counsel

The Harte Committee made the robust findings of fact in my favor set forth in Part II and

elsewhere in the Harte Report notwithstanding what appears to be their application.(through-no

fault of their own) of the incorrect standard of proof, namely, the requirement of proof beyond a

reasonable doubt. For example, the Harte’‘Report states in the penultimate paragraph on page 10:

_ “Drawing conclusions beyond a reasonable doubt regarding the presence or absence of gender

discrimination has not proved possible in this case.” (Incidentally, this is the only reference to
ihe applicable burden of proof in the Harte Report.) In addition, as detailed further in Part IV.B,
there are other matters of law applicable to this matter that may not have been duly explained to
the Harte Committee,

A. The Applicable Burden of Proof Is Preponderance of the Evidence,

The Harte Report does not explain why the Harte Committee felt compelled to limit its
conclusions to those facts proven beyond a reasonable doubt, which is the standard used only in
criminal cases, instead of applying the standard applicable in civil cases involving employment
contracts and discrimination, namely, proof by a preponderance of the evidence, The Harte |
Report identified Caroline Hendel of the University’s Office of General Counsel as “Counsel to
the Committee” (second full paragraph under “ft, Committee Process,” p. 1), suggesting that no
independent outside counsel was retained to advise the Harte Committec in its work, including
on the critical matter of the applicable standard of proof borne by the complainant.

Because the standard of proof applicable to claims of discrimination, breach of contract, and
negligent misrepresentation is a question of law not fact, one must ask whether the standard of
proof beyond a reasonable doubt and the perceived need for “conclusive” evidence (of which
. _ there was in actuality much based on the Committee’s findings) of gender discrimination’
derived ftom University Office of General Counsel, which advised both the SOM deatis on the
process to follow when presenting my appointment renewal to the BPO and the Harte Committee
appointed to review the fairness of that sanie process, If so, the General Counsel’ s Office was in
error.

in fact, the burden of proof in this matter should never have been at issue (nor could anyone have
reasonably expected that it would be) given that (1) the law is so clear on the subject, and (2) the
University entered into an agreement on June 11, 2012 with the Office for Civil Rights within
the U:S. Department of Education (“OCR”), signed by University Vice President and General
Counse! Dorothy Robinson, which recites that preponderance of the evidence is the standard
applicable in internal University proceedings relating to sexual misconduct," The definition of
“sexual misconduct” posted on the Sexual Misconduct at Yale site (smr.yale.edu) includes

 

” See, e.g., the following statement by the Committee: “There is no conclusive evidence of how, if at all, the
evidence of a chilly environment [which] we did find contributed to Professor Bagtey’s non-reappointment, or how,
if at all, gender discrimination was a factor in that non-reappointment.” (Para. (B, p. 11)

® Although the OCR agreement dealt primarily with the procedures for the University-Wide Committee on Sexnal
Misconduct, it would make no sense to require one level of proof in those proceedings and a much-higher in other
internal reviews where sexual misconduct is implicated. Indeed, as explained hereafter, it would be an independent
Title IX violation if the University required proof of any type of discrimination barred by Title Ix by a standard
higher than proof by a preponderance of the evidence,
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“sexual harassment,” which the U.S. Supreme Court has defined to include creation of a hostile
environinent’ and sexual stereotyping, |

The correct standard for claims under Title VI, '! Title IX, "? the Age Discrimination in
Employment Act,’ the Americans with Disabilities Act (ADA), and the Connecticut
analogues!” is proof of discrimination “by a preponderance of the evidence.” As the United
States Supreme Court explained in Reeves v. Sanderson Plumbing Products; Inc. 6 “[O]nce the
employer produces sufficient evidence to support a nondiscriminatory explanation for its

_ decision — {the plaintiff employee] must be afforded the ‘opportunity to prove by a
preponderance of the evidence that the legitimate reasons offered by the defendant were not its
true reasons, but were a pretext for discrimination.’” '” Tf the fact finder finds, by the
preponderance of the evidence, that the proffered reasons are a pretext, that finding alone is
sufficient to prove intentional and illegal discrimination. In addition, the employee need not
present direct evidence of discrimination: “Circumstantial evidence is not only sufficient, but

_ may also be more certain, satisfying and persuasive than direct evidence.” 8 .

Title IX of the Education Improvements of 1972 requires schools “to provide equitable grievance
procedures” for violations of the statutes under the jurisdiction of the OCR, including those
prohibiting discrimination based on gender, age, or disability.!? The OCR stated in its “Dear
Colleague” Letter, dated April 4, 2012, dealing with sexnal misconduct: “fT]n order for a

. school’s grievance procedures to be consistent with Title IX standards, the school must use a

preponderance of the evidence standard {(7.¢., it is more likely than not that sexual harassment or

 

° Meritor Savings Bank v. Vinson, 477 U.S, 51 (1986).

© Drice Waterhouse v. Hopkins, 490 U.S, 228 (1989) (“Aa employer who objects to aggressiveness in women but
whose positions require this Irait places women in an intolerable and impermissible Catch-22: out of a job if they
behave ageressively and out of a job if they don't. Title VO lifts women out of this bind.”) .

" The Office for Civil Rights within the Department of Education (“OCR”) stated in its “Dear Colleague” letter
dated April 4, 2012 [hereinafter “OCR “Dear Colleague’ Letter]; “The Supreme Court has applied a preponderance
of the evidence standard in civil litigation involving discrimination wader Title VII of the Civil Righis Act of 1964 —
(Title VID,” citing Desert Palace, Inc. v. Costa, 539 U.S. 90 (2003), and Price Waterhouse v. Hopkins, 490 U.S. 228
(1989). .

? OCR ‘Dear Colleague” Letter, citing Jennings v. Univ. of North Carolina, 482 F.3d 686, 695 (4th Cir. 2007)
(“We look to case Jaw interpreting Title VIL of the Civil Rights Act of 1964 for guidance in evaluating a claim
bronght under Title [X.”). ;

3 soe, o.g., Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133 (2000). 7

4 See, e.g.,Ramos-Echevarria v. Pichis, ic., 659 F.3d 182 (1st Cir. 2011) (employee “may prove his case by
presenting direct evidence of discrimination or he may prove it indirectly ‘by using the prima facie case and burden
- shifting methods that originated in MeDonnell Douglas Corp. v. Green, 411 US. 792, 93 S.Ct. 1817, 36 L.Ed.2d
668 (1973).'").

'S See, e.g., Pik-Ksik Stores, Inc. v. Commission on Human Rights and Opportunities, 170 Conn. 327 (1976)
(*Although-the language of the federal statate and that of the Connecticut statute differ slightly, it is clear thal the
intent of the legislature in adopting 1967 Public Acts, No, 426 (which extended the provisions of the Fair
Employment Practices Act to prohibit discrimination on the basis of sex} was to make the Connecticut statute
ecextensive with the federal.”). ,

8 530 U.S. 133 (2000).

7 Fd. at 143 (quoting Texas Dept. of Community Affairs v. Burdine, 450 U.S. 248, 253 (1981)),

'8 Desert Palace, Inc. v. Costa, $39 U.S. 90, 99-100 (2003) (intemal quotation marks and citations omilted)..

° OCR “Dear Colleague” Letter. As the OCR explained; “In addressing complaints filed with OCR under Title IX,
OCR reviews a school’s procedures to determine whether the school is using a preponderance of the evidence
standard to evaluate complaints.” /d. .
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violence occurred).”” (As discussed further below, the University’s policies and procedures for

addressing sexual misconduct and its recent agreement with the OCR incorporate this standard.)
The same reasoning applies to other types ¢ of gender discrimination as well as to age and
disability discrimination.

The OCR has made it clear that procedures requiring the higher civil standard of ‘clear and
* convincing” evidence, i.e., proof that it is “highly probable or reasonably certain that the sexual
harassment or violence occurred” are “inconsistent with the standard of proof established for
violations of the civil rights laws, and are thus not equitable under Title IX, »21 4 fortiori,
requiring proof beyond a reasonable doubt, which is an even higher standard than clear and
convincing evidence, violates Title IX.

And as if these U.S. Supreme Court t decisions and regulatory guidance from the OCR were not
enough to resolve the matter of applicable standard of proof, the University entered into an
agreement with the OCR, entitled “Voluntary Resolution Agreement Yale University
(University) Complaint No. 0-11-2027” on June 11, 2012, that requires the University to apply
the standard of proof by a preponderance of the evidence when deciding whether there has been
sexual misconduct, which includes hostile environment and sexual harassment. So, the
University itself has explicitly committed to require only proof by a preponderance of the

evidence in cases involving sexual misconduct, the same standard the courts and regulators
themselves apply.

The Harte Committee’s application, through no fault of its own, of the wrong burden of proof
fatally compromised the findings of the Committee that do not support the facts on which I
offered proof. By contrast, the Committee’s findings in my favor must stand because any fact
proved “beyond a reasonable doubt” is, by definition, also proved by the lower standard of
“preponderance of the evidence,”

B, The Burden of Production in Age Discrimination Cases Shifts Once the Complainant
Introduces Evidence that She Was Replaced by Someone Substantially Younger.

Moxeover, with respect to the claim of age discrimination under the Age Discrimination in
Employment Act and its Connecticut analogue, there appears to have been confusion regarding
the shift in the burden of production that occurs once an employee has established a prima facie
case, The Committee stated: “In general, according to the advice we were given, we understand
that the replacement of an older teacher by a younger teacher does not in and of itself constitute
evidence of age discrimination.” (Para. (1), p. 12.) Yet, there is no evidence in the Harte Report
that the General Counsel’s office advised the Committee that the U.S. Supreme Court has made
it clear that once an employee aged forty or older proves she (1) was qualified for the position at
issue, (2) suffered an adverse employment action, and (3) was replaced by a substantially
younger person, then the burden shifts to the employer to produce evidence to explain why its

 

8 Id. See also OCR’s Case Processing Manual, which is available on the Department’s Web site, at
hitp:/Avww2.ed.gov/about/offices/list/ocr/docs/ocrepm.himl,
41 OCR “Dear Colleague” Letter.
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decision was not age-based,”” As with gender cases, once an employee establishes a prima facie
case, a finding of pretext can be sufficient to prove illegal discrimination.

C. The University’s Office of General Counsel Had Conflicting Roles.

‘These clear errors in the burden of proof and production are compounded by the raultiple roles
that the Committee found the Office of General-Counsel played when advising Dean Snyder and
Deputy Dean Metrick on the process for presenting my case to the BPO (and, though not .
addressed by the Harte Committee, in advising the SOM deans, if they did at all, concerning my
contractual rights), The potential conflicts described below deprived the Harte Committee of the
benefit of independent legal advice outside of the University’s Office of General Counsel and
thereby compromised the Committee’s ability to fulfill its prescribed role as neutral fact finder
under the Faculty Handbook.

1. Potential Legal Conflict

There clearly appears to be a legal conflict of interest in the sense that the University Office of
General Counsel (1) advised the Dean and Deputy Dean of SOM, who the Harte Comtnittee
found had engaged in conduct that “exposes the faculty and operations of SOM to the risk of
charges of gender discrimination” (para. (f), p. 11), prior to the BPO vote and perhaps also in the
period after the BPO vote on May 7 and Dean Snyder’s non-renewal letter of May 24, and (2)
advised the independent review committee charged with deciding whether Dean Snyder acted
properly when he decided not to renew my appointment, Because all the lawyers in the Office of
General Counsel report to Vice President and General Counsel Dorothy Robinson, it does not
matter for this purpose which lawyer in the Office of General Counsel served as counsel of
record to the Harte Committee or the SOM deans. Once the Harte Committee found evidence
that the SOM deans had acted pursuant to advice from the General Counsel, independent counsel
should have been retained to ensure that the Harte Committee was given independent and
uncompromised legal advice. ,

2. Potential Personal Conflict Involving the Lawyer or Lawyers in the Yale Office of
General Counsel Who Advised the SOM Deans on the BPO Vote and Quite Possibly on My
Contract Rights -

in addition to the legal conflict, one or more Jawyers in the Office of General Counsel have a
personal conflict because this appeal turns in substantial part on the propriety of the process used
when the SOM deans presented my case to the BPO, which was, according to the Harte Report,
followed at “the recommendation by the General Counsel” (para. (9), p. 7). if the nonrenewal
decision at issuc was wrongly made, then the legal advisor who recommended a particular course
of action (here, the Office of General Counsel} could, depending upon the nature of the advice
given, also be culpable. In short, the lawyers in the Office of General Counsel may well have a
personal stake in the outcome of the Harte Committee review of Dean Snyder’s decision not to
reappoint me, |

The proscription against “a man judging his own case” has existed since the earliest days of
English common law. Here the University has set up a review process for a reason — to give an

 

2 Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133 (2000).

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independent body, subservient to no one, the ability to ascertain the facts. That process is

completely subverted when those who actively participated in the nonrenewal decision at issue

also advised (or failed to advise) the review body on the applicable law, including not only the
all-important standard for the burden of proof to be applied but also other critical legal matters,

- inchuding, without limitation, the responsibility of the fact-finder to assess the credibility of .
witnesses; the rule that discrimination can be proved solely by circumstantial evidence; the legal
principle that ambiguous terms in a contract are to be construed against the drafter and that

contracts should not be construed in such a manner as to make superfluous any provision thereof;
the implied covenant of good faith and fair dealing applicable to all employment relationships
under Connecticut law; the Connecticut standards for the power of an agent to bind a principal to
a contract based on apparent authority; the duty in Connecticut for a contracting party to
disclose certain facts unknown to.the other party to a contract and the negligent
misrepresentation that can result from a failure to disclose; an employer’s duty of supervision;
under both Connecticut and federal law; and the federal and state laws and regulations governing
sexual harassment, illegal sexual stereotyping, and other forms of discrimination.

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1V. The Harte Committee Should Have Been Advised of its Obligation to Assess the
Credibility of the SOM Deans and One or More Witnesses Against Me.

When ascertaining the facts and evaluating conflicting testimony, the fact finder, in this case, the
Harte Committee, is responsible for-assessing the-credibility of the witnesses.~*.Taken alone, the
inconsistencies between the course evaluations for the Spring 2012 State and Society course and
the testimony to the Committee related to the course draw into question the credibility of much

of the testimony by Professor Rae and one or more SOM deans. Because discrimination and
certain other claims can be proved by circumstantial evidence, if is critical for the Harte
Committee to be given an opportunity to reassess any factual findings for which they found
ambiguous or conflicting evidence and any factual findings against me in light of a full, accurate,

and complete articulation of their role as fact finder and all other applicable law.

For example, the Harte Report states: “Joint teaching reviews, we were told, were quite
damaging” (para. (8), p. 7). Yet, as discussed in Part 1, the course received the same ratings in
both 2011 and 2012: a median of 3.6 and a median of 4.0, both on a scale of ! to 5. This
distortion of the truth (and other factual inconsistencies discussed in this memorandum) casts
doubt on the credibility of the witnesses who testified on this issue and the SOM deans’
purportedly “generous motivations” for not explaining to the BPO the reasons for terminating

my role as co-teacher in the State and Society course (para. (12), p. 8), Because there was “some
evidence that the SOM deans’ understanding of the course’s problems came primarily from
reports provided by Professor Rae” (para. (8), p. 7), his credibility may be severely
compromised.” |

It is trae that my mean instructor rating dropped from 4.1 (with a median of 4.0) in Spring 2011
to a mean of 3.5 in Spring 2012 (with a median of 4.0), but that is still well within the range of
excellent performance by the other SOM professors, Moreover, the lower rating in Spring 2012
is, in my opinion, attributable in part to the“inappropriate comments and behaviors based on
gender” to which the students and I were subjected in Spring 2012 (para. (2), p. 10) and the
“chilling atmosphere related to [my] teaching” (para. (h), p. 11). The lower rating in Spring 2012
is also the direct result of Professor Rac’s insistence that we eliminate my materials and sessions
on healthcare reform, the global financial crisis, and intellectual property protection, These

_ changes are apparent when one compares the draft syllabus dated February 24, 2012 (attached as

 

33 See, e.g., O'Connell v, O'Connell, 10] Conn. App. 516 (2007) (the trier of fact is responsible for assessing the
credibility of witnesses). . .
4 Thad told Deputy Dean Metrick on February, 27, 2012, about my concerns that my efforts to ensure that the State -
and Society materials were ready on time could interfere with the fairness of my review. He assured me in the email -
attached to my Initial Submission as Exhibit M: “f also stand ready to help if-—once the semester begins—you need
some intervention to help things work more smoothly.” He further stated: “IT also appreciate that this is a review year
for you, and the dynamics of teaching and the review put you in a difficult situation. I appreciate knowing these
dynamics, and } will make sure to minimize any effects on your case.” (/d.) Thus, the SOM deans were on notice
that disparaging comments from Professor Rae might not be credible, See Sangan v. Yale University, 2006 WL
2682240 (D. Conn. Sept. 15, 2006) (denial of motion by university to dismiss claims of intentional infliction of
emotional distress, negligent supervision, and retaliatory discharge brought by an Indian female who alleged that
her male supervisor had made false accusations of inferior job performance and harassed her based on gender). See
also Craig v. Yale University School of Medicine, 838 F. Supp. 2d 4 (D. Conn. 2011) (holding that “an abuse ofa
hierarchical power relationship” could constitute sufficiently extreme and outrageous conduct to support a claim of
intentional infliction of emotional! distress against the employer).

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Exhibit 4), with the syllabus that Professor Rae posted on classes v2 while | was on vacation in
Puerto Rico (Exhibit 5). Professor Rae’s instructor ratings for State and Society were 3.8 (with a
median of 4.0) in both 2011 and 2012. Thus, to the extent that there was any “deterioration of the
State and Society course” in Spring 2012 (para. 12, p. 8), it was, in my opinion, attributable to
Professor Rae’s insistence that we change the course content. - - Se

’ Furthermore, not one student made any mention in the written course comments fo what is
characterized in multiple places in the Harte Report as a “meltdown” of the course in Spring
9012 (see, e.g, para. (8), p. 7). Had such a “public meltdown” occurred, surely at least one of
the 150-plus students reporting would have mentioned it, Although several students noted that —
there appeared to be some tension between Professor Rae and me, that is not surprising given the
reported “comments made to Professor Bagley, to other people involved in staffing the State and
Society course, and to that class as a whole that a majority of the Committee thought may-be
deemed offensive to women.” (Para. (2), p. 9.) Moreover, several students did voice concerns
about Professor Rae’s failure to post certain of his cases and assipnments in a timely manner.

In 2013, all five sections of the State and Society course will be taught by males: Professor Rae
is scheduled to co-teach four sections of State and Society in the full-time MBA Program with
Professor Ian Shapiro, Senior Associate Dean and Senior Lecturer David Bach, who interviewed.
at SOM on May 7 and 8, 2012, joined the administration and faculty as of September 1, 2012,
and is substantially younger than I am, is scheduled to teach State and Society in the Executive
MBA Program in 2013. According to the SOM Course Catalogue, the core curriculum taught in
the Executive MBA program, including State and Society, is the same as the core curriculwm in
the full-time MBA program.

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V. SOM Engaged in Hlegal Gender Discrimination.

For the reasons stated above, the findings of fact in my favor are themselves more than sufficient -
fo prove gender discrimination. For example, the Harte Report found beyond a reasonable doubt
that “a chilly atmosphere for women did-exist at SOM: in-contexts in: which Professor Bagley was
involved.” (Para. (b), p. 11.) The alleged “failure” of State and Society is directly, and .
conclusively, belied by the student course evaluations. Moreover, the Harte Committee
recognized that “the possibility remains open that the five-year reappointment of Professor
Bagley was influenced by reactions to her gender in combination with aspects of her personal
style and her requests for consideration of tenure, a chair, and for a longer-term reappointment.”
(Para. (g), p. 11.) Had the Harte Committee been advised more fully and accurately about the law
applicable to this matter, been provided with all of the facts (including the teaching evatuations
for State and Society and other core courses taught in the 201 1-2012 academic year), and, as
discussed in Part JV.A.2, been instructed regarding its obligation as the finder of fact fo assess
the credibility of witnesses, then I am confident that the Committee would have concluded that -
the reasons offered by the SOM deans for my non-reappointment were but a pretext and that the
SOM deans, and thus the University, discriminated against me based on my gender in violation
of Yale’s own policies and applicable federal and state law. Indeed, the findings in the Harte
Report, as supplemented by the incontrovertible evidence in this memorandum, are sufficient for
you to reach those same conclusions.
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VI. Yale Breached My Employment Contract and the Implied Covenant of Good Faith and
Fair Dealing.

The first paragraph of the Appointment Letter states: “It gives me great pleasure to confirm in
_. writing, that the Faculty of the School of Management has voted you an appointment as Professor
in the Practice of Law and Management for a term of five years beginning July 1, 2008.” The
first sentence of the second paragraph, which was added at my express request, states: "AS -
Professor in the Practice of Law and Management you will be a full-time, voting member of the
faculty on all matters except tenure appointments.” The third sentence of the third paragraph,
which was also added at my express request, states: “As Professor in the Practice of Law and
Management you will be eligible for the same benefits as other full-time members of the senior
faculty.”

Section XI of the Faculty Handbook clearly distinguishes between the rank of Professor in the
- Practice at SOM and the SOM adjunct ranks. I discuss the Faculty Handbook provisions in
subpart C ofthis Part VI, .

The University drafted both the Appointment Letter and the Faculty Handbook. Together, they
comprise my contract of employment.” Under Connecticut law, a contract “must be viewed in
its entirety, with each provision read in li ght of the other provisions , . . and every provision must
be given effect if it is possible to do so,”

A. Dean Podolny Had the Authority to Grant Me the Right to Reappointment Based Solely
on my Performance and to Grant Me the Right to Vote on all Matters Except Tenure
Appointments.

Dean Podolny had actual authority to bind the University to a contract basing reappointment
solely on the performance of the candidate (and, as discussed in detail in Appendix C, the voting
rights set forth in the Appointment Letter), After reviewing relevant portions of the University’s
bylaws, “which were provided to us [the Committee] by Caroline Hendel” (para. (2), p. 5), the
Faculty Handbook, and interviewing witnesses, the Harte Committee found: “At SOM, Practice
appointments aré not subject to Provostial approval, nor are letters of employment reviewed by
ihe Provost’s Office or General Counsel,” (Para. (7), p. 3.) Moreover, although the BPO votes on
the reappointment of Professors in the Practice and makes a recommendation to the Dean, “The
vote is advisory only.” (Para. (11), p. 3.) Although my appointinent, like all faculty
appointments, was subject to approval by Yale Corporation, the existence of that approval is
uncontested.

Even if Dean Podolny did not have actual authority to make the commitments he did, he had
apparent authority to do so. The University gave the SOM Dean plenary powets over
appointments and reappointments to the rank of Professor in the Practice. it had become the

 

25 Tn Neiman v. Yale University, 270 Com, 244 (2004), the Connecticut Supreme Court hetd that a Yate faculty
member was bound by the Faculty Handbook. If Yale were not also so bound, that contract would be illusory and
hence wienforceable.

26 Varbour Pointe, LLC v. Harbour Landing Condominium Association, Inc., 300 Conn. 254 (2041) (intemal
quotation marks and citations omitted). See afso Ramnirez v. Health Net of the Northeast, Inc., 285 Conn. 1, 14
(2008) (“Moreover, in construing contracts, we give effect to all the language included therein, as ‘the law of
contract interpretation. .... militates against interpreting a contract in a way that renders a provision superfluous.””}
(internal citations omitted).

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customary and usual (and transparent) practice for the Dean of SOM to treat Professors in the
Practice as senior faculty for all purposes except voting on tenure cases. (See, e.g., the email
from Professor Sonnenfeld to me attached as Exhibit FF in my Initial Submission). The existence
of apparent authority is “one of fact” to be determined based on two criteria: “First, it must
appear from the principal’s conduct that the principal held the agent out as possessing sufficient
authority to embrace the act in question, or knowingly permitted [the agent] to act as having such
authority... . Second, the party dealing with the agent must have, acting in good faith,
reasonably believed, under all the circumstances, that the agent had the necessary authority to
bind the principal to the agent’s action, 27 Both criteria are met in my case. In addition, because |
relied on the provisions in the Appointment Letter and the Faculty Handbook to my detriment,
the University is equitably estopped from claiming that these provisions are invalid,”®

B. Any Ambiguity in pry Employment Contract Must Be Construed Against the Univer. srsity,
which Further Reinforces my Case,

The Harte Committee found that “the language of the employment letter of April 8, 2008, is
ambiguous” (para. (a), p. 8), but nonetheless concluded that it would be unfair to construe that
language against me (para. (e), p. 8). The Connecticut Supreme Court has made it clear that any
ambiguity in contractual language must be construed against the drafter,”? in this case, Yale
University. Accordingly, not only is it unfair but also it is unlawful to construe ambiguous
language against me, Thus, contrary to the Commitice’s conclusion that “we cannot conclude
whether Yale met or failed to meet its contractual obligations to Professor Bagley” (para (a), p.
8), the facts found by the Committee are sufficient to establish that the University did not meet
its contractual obligations to me as a matter of law. .

The contract required SOM to use its usual and customary process for reviewing Professors in
the Practice for renewal, which Deputy Dean Metrick set forth in his email to me on October 19
201 1: “A] committee of faculty will review your accomplishments and will prepare a report on
your case, which will then go before an SOM faculty vote.” ‘The clear antecedent of the word
“which” is “a report on your case.” Deviation from that usual and customary process violated my *
employment contract and the implied covenant of good faith and fair dealing applicable to every
employment contract under Connecticut law. As noted earlier, it also constituted illegal
disparate treatment based on gender,

My request for a copy of the report prepared by the Bracken Committee (the “Bracken +n Report”)
was denied but, as noted earlier, the Harte Committee found that the Bracken Report had
examined my scholarship, teaching, and University service, that the review was positive, and that
the Bracken Committee had unanimously recommended reappointment. Because the Bracken

 

7? vale University v. Out of the Box, LLC, 118 Conn. App. 800, 808 (2010) (citations and internal quotation marks
omitted).

28 See, e.g., Johnnycake Mountain Associates v, Ochs, {04 Conn. App. 194 (2007); Hall-Breoke Foundation, Inc. v.
_ City of Norwalk, 58 Conn. App. 340 (2000).

2 See, e.g., David M. Somers & Associates, P.C. Busch, 283 Conn, 396, 402-403 (2007) (“When the language of a
contract is ambiguous, the determination of the parties’ intent is a question of fact. . ..”) (citations and internal
quotation marks omitted). See also Cantonbury Heights Condominium Association, Inc, v, Local Land
Development, LLC, 273 Conn. 724, 735 (2005) (“Where the language (in a contract] is unambiguous, we must give
the contract effect according to its terms. . .. Where the language is ambiguous, however, we must construe those
ambiguities against the drafter.”") (citations omitted).

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Report is central to this appeal, | respectfully request that you ask the Harte Committee to.
include, if it has not yet done so, a copy of the Bracken Report with its confidential
recommendations to you.

. Although the Harte Report found that SOM has used the rank of Professor inthe Practice
opportunistically,” it found that Stanley Garstka has been a Professor in the Practice since 1983,
Roger Ibbotson since 1984, Jeffrey Garten since 1995, Jeffrey Sonnenfeld since 2004, Rakesh
Mohan since 2010, and Thomas Kolditz since 2012 (para. (12), pp. 3-4). Thus, “With the
exception of Professor Bagley and Professor Fabozzi, [who was appointed September |, 2006
and terminated at some time before May 30, 2011] whose contract was not renewed, but was
extended for two years, all the above have continued in their posts to.the present.” (/d.) When I
asked Deputy Dean Metrick prior to the BPO vote on my case why Professor Fabozzi was not
renewed, he told me that the decision not io renew was based on insufficient University service,
a criterion that | indisputably met. (Given that I do not have access to the renewal review report
in Professor Fabozzi’s case and the SOM deans do, the burden should be on the SOM deans to
share the Professor Fabozzi reappointment review report with the Committee.)

Thus, contrary to the statement in paragraph (10) on p. 3 of the Harte Report that “/s/everal —
Practice professors have been renewed multiple times” (emphasis added), in fact every SOM
Practice professor who came up for renewal prior to my appointinent in 2008 either was
repeatedly renewed (in the case of Professor Garstka, more than five times) or had a term of
more than five years. Thus, there was ample precedent for Dean Podolny and Deputy Dean
Garstka to assure me that as long as ] met the criteria of scholarship, teaching and University
citizenship articulated in connection with my original appointment, my appointment would be
renewed.

Moreover, the Harte Committee statement that “the purpose of these Practice positions is to
infuse curricula with teaching by expert practitioners, often those in fields not currently covered
by existing ladder faculty” (para. (6), p. 3) may be true elsewhere in the University, but it has
historically not been the case at SOM. For example, Professor Garstka has taught accounting at
SOM for almost thirty years even though there have been multiple ladder appointments in that
period, Moreover, a number of Professors in the Practice, myself included, have taught in the
core. While the Committee’s characterization of the purpose of Practice appointments at SOM
(which 1 assume came from the SOM deans) may fit many of the jecturers at SOM, it does not
reflect the central teachings duties of many SOM Professors in the Practice {including the newly
appointed Professor in the Practice of Leadership Tom Kolditz) or their scholarly
accomplishments and the leadership positions played by persons holding that rank at SOM. For
example, one Professor in the Practice, Jeffrey Garten, served as Dean; and another, Stanley
Garstka, served as Acting Dean.

In any event, as noted above, the Review Committee found that the BPO did not change the

standards for Professors in the Practice prior to the vote on my case, I attended the part of the

faculty meeting on May 7, 2012 at which the appointment of Tom Kolditz was discussed, and
voted on that appointment, and there was no discussion in the appointment review commiltee

 

» See, e.g., the statement by the Harte Committee in paragraph (5) on p. 3: “SOM Practice appointments often occur
duce to long-standing associations of the appointees with existing tenured faculty or deans on an opportunistic basis,
rather than as the product of an oper and competitive search.”

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report or at the meeting of any change to the SOM standards for the rank of Professor in the
Practice.) Nor did the BPO engage in any systematic review of the content of the State and
Society course. Even if the BPO had the right to change the standards or the course going .
forward, that would not retieve the University of its contractual obligations to me. This is similar
tothe case in which the Supreme Court held that-even though a future Congress-had the right to-

- change the reserve requirements for banks, the U.S. Government still was liable for the payment
of dainages for the breach of contract occasioned by the change.” Similarly, a Dean can bind the |
University to a contract requiring the University to pay contract damages if the University later

changes the standards for renewal.

- €, The Faculty Handbook Provisions Distinguishing Between SOM Professors in the
Practice and SOM Adjuncts Further Support my Reading of my Employment Contract.

My intetpretation of the Appointment Letter is further bolstered by the Faculty Handbook, which
the Connecticut Supreme Courts held was part of a Yale faculty member’s employment
contract? Section XI.C.2 of the Handbook provides: “Definitions of non-ladder ranks in the
School of Management include those in the Faculty of Arts and Sciences (See Section TV.K.)
The School [of Management] has the additional non-ladder ranks of professor in the practice
and associate professor in the practice, as described below. For information on these and other
non-jadder ranks, consult the Dean.” (Emphasis added.) Thus, the FAS standards set forth in
Section IV.K. for the nonrenewal of non-ladder faculty apply to all non-ladder appointmeats at
SOM other than professors in the practice with the same legal effect as if they were repeated
verbatim in Section IX.C of the Handbook.

Section IV.K provides: “Appointments to the adjunct ranks... are renewable, depending upon
the continued teaching needs of the department, the Provost’s authorization for the appointment,
and the performance of the individual.” In sharp contrast, Section XLC.3 of the Faculty
Handbook provides that appointments to the rank of Professor in the Practice “may be made for
terms of up to five years and may be renewed with no limit on the number of reappointments
without involving the University in either the expectation or promise of tenure,” Thus, the Harte
Committee erred when it reasoned: “[S]ection IV.K, to which Professor Bagley appeals, comes
from the section of the Handbook describing Adjunct positions in FAS generally and cannot be
used as a basis for comparison between standards for the position of Professor in the Practice in
SOM and those of Adjunct Lecturers in SOM.” (Para. (2), p. 2.)

Like SOM, the School of Forestry and Environmental Studies has the rank of Professor in the
Practice (para. (3), p. 2). Also like SOM, it provides ihat appointment to that rank does not create
“the expectation or promise of tenure. However, unlike SOM, Section IX.E of the Faculty
Handbook expressly states that for all FES term appointments, including Professors in the
Practice at FES: “Reappointment is dependent on the needs of the School and the performance of
the individual.” (Faculty Handbook, Section [X.E.) Thus, the University clearly knew what
language to use when conditioning reappointment on programmatic need. Its failure to use that
language in the section dealing with SOM appointments precludes it from asserting that
condition now.

 

“31 United States v. Winstar, $18 U.S. 839 (1996).
32 Neiman v. Yale University, 270 Conn. 244 (2004).

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This reading of my contractual rights is mandated by the standards the Connecticut Supreme
Court has clearly articulated for the interpretation of contracts: “When interpreting a contract, we
- must look at the contract as a whole, consider all relevant portions together and, if possible, give
operative effect to every provision in order to reach a reasonable overall result.” The court has

reasoned that every provision-of a contract “must be-given operative effect because-parties..... . ..

ordinarily do not insert meaningless provisions in their agreements,” * Even when a contract
includes general language that suggests one interpretation of the parties’ rights, “that fact does
not overcome strong evidence of a contrary intent in fhe more specific provision . . . 2 Thus,
the more specific language setting different standards for SOM Professors in the Practice and

other SOM non-ladder ranks controls this issue.

Moreover, as quoted above, the SOM portion of the Faculty Handbook further instructs readers
to consult with the Dean concerning adjunct appointments. That is exactly what I did. As the
Committee found (paras. (2) and (3), pp. 6-7, and para. (b), p..8), Dean Podolny assured me that
ah appointment as Professor in the Practice was not an adjunct appointment and that, at least
absent a wholesale revamping of the rank (see his email to me dated March 26, 2008, which is
quoted in para. (2), p. 6 of the Harte Report), which the Harte Committee found did not occur,
renewal would be based solely on my performance. After | requested further assurance on this
very issue, Deputy Dean Garstka provided to me a revised appointment letter dated April 8,
2008, which added the language quoted in italics in the block quote on the bottom of p. 4 and the
top of p.-5 of the Harte Report. That was the offer letter | accepted, not an earlier draft letter that
did not contain that italicized language.

D. SOM Had a Duty to Clarify any Ambiguity Concerning the Standards for
Reappointment.

Finally, even if programmatic need were in fact a precondition for my reappointment, which it
was not, then Dean Podolny or Deputy Dean Garstka had a duty under Connecticut law to
disclose that the language added by Deputy Dean Garstka to address this very issue after Dean
Podolny sent me his emai! of March 26, 2008 (quoted in para. (2), p. 6) did not protect me from a
decision not to reappoint based to a change in programmatic need, The Committee found,
“professor Bagley relied on her understanding of the employment letter when she agreed to
move herself and her young son to New Haven and when she ceased pursuit of potential offers of
tenured positions from smaller colleges in Boston, Professor Bagley made it clear to Dean
Podolny that she was especially concerned about the continuity of her son’s education. She did
not want to move her son after a short period in New Haven.” (Para. (4), p. 7.)

E. There Has Been No Change in Programmatic Need.

_ Moreover, here there is no question of programmatic need. ‘The course J have taught since being
appointed as Professor in the Practice of Law and Management—State and Society—continues
to be taught at SOM. In addition, in his statements fo the SOM Advisory Board and to the facuity

 

33 Office of Labor Relations v. New England Health Care Employees Union, Distict 1199, AFL-CIO, 288 Conn. 223
(2008). : . ;

Ceci v. National Indemnity Company, 225 Conn. 165, 175 (1993). .

43 Connecticut Light and Power Company v. Lighthouse Landings, Inc., 279 Conn. 90 (2006) (“CE Galvin v.
Freedom of information Commission, 201 Conn. 448, 456, 518 A.2d 64 (1986) (‘where statutes contain specific and
general references covering the same subject matter, the specific references prevail over the general’).”).

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(which are quoted in Exhibit W of the Initial Submission), Dean Snyder has repeatedly expressed _
his commitment to keeping (if not expanding) education in business regulation and the law as an ~
important part of the SOM MBA curriculum, as the AACSB accreditation rules require in any
event, For example, the following: “Market economies dominate, yet governments play an

“incréasingly larger Tole withii them” (Zd. ): “Phe world’s market-oriented economies are" *
exhibiting more complexity within societies, with governments exerting more influence, and
actoss societies. . .. The world needs leaders who understand these complexities at a
significantly deeper level.” (Jd.) My SOM cases on BP in Russia, the energy crisis in South

. Aftica, and the disputes with UAE and India over the BlackBerry encryption codes are but three
examples of how my teaching materials address these very issucs,

KF. The SOM Deans Violated my Voting Rights.

The Committee “read the language of the appointment letter [providing that I would be a full- -
time, voting member of the faculty on all matters except tenure appointments] to guarantee
Professor Bagley only those voting rights consistent with the Professor in the Practice position.”
(Para. (1), p. 5.) In doing so, the Committee appears to have ignored the tegal principle ,
articulated by the Connecticut Supreme Court (of which it may have been unaware) that
contractual provisions are not to be interpreted in such a manner as to render them superfluous.
This is especially the case when, as happened in my case, the language in question was added at
the express request of the party it favored. To the extent that the alleged “meltdown” or
“deterioration” of State and Society in Spring 2012, the future content of State and Society, or
any other issues related fo programmatic need were discussed at any meetings of the senior
faculty from which I was wrongfully excluded, this was not only a breach of my contract in its
own right but also compounded the wrongful conduct found by the Committee and discussed
above, t address my voting rights in more detail in Appendix C.

_G, The SOM Deans Had Notice of My Contractual Rights.

Contrary to the assertion that neither Dean Snyder nor Deputy Dean Metrick had seen a copy of
-my Appointment Letter in the 2011-2012 period (para. (7), p. 7), | expressly referenced that
letter in an email to Dean Snyder dated January 5, 2012, in which | stated: “I don’t know what —
Roger [Ibbotson] and Jeff? s [Sonnenfeld’s] contracts provide, but my Professor in the Practice
contract specifies that I will be treated as senior faculty for all purposes except voting on tenure —
cases.” In response, Dean Snyder stated, “(Well check.” (Initial Submission, Exhibit 5.)
Because I was invited to attend the next meeting of full professors, I assumed that he did what he
promised to do and had reviewed, or had someone else review, the Appointment Letter. It was ~
only Jater that I discovered that the listserv for announcements of meetings of the full professors
_ had been changed to delete the names of the Professors in the Practice, who were then put on a.
separate list, Since March 2012, virtually every meeting of the full faculty had been-—in
contravention of my contract rights—-been converted into a meeting of just the BPO.

On multiple occasions prior to the BPO vote, | mentioned my appointment letter to Deputy Dean
Metrick. Although he told me in March or April of 2012 that he had not seen a copy ofmy

 

36 See, eg., Afkari-Abmadi v. Folovat-Ahmadi, 294 Conn. 384 (2009) (“in construing contracts, we give effect to all
the language included therein, as the law of contract interpretation . . . militates against interpreting a contract ina
way that renders a provision superfluous”) (internal quotation marks and citations omitted).

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appointment letter before he convened the Bracken Committee in the fall of 2011, he told me
that he had subsequently procured a copy and read it.

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_VUL Reservation of Rights

In light of the issue preservation holding in Neiman v. Yale Universi ty,” Thereby dispute any.
findings in the Harte Report that are contrary to what I alleged in the Initial Submission, my
various other-submissions-to-the-Harte-Committee, and-thissmemorandum. This reservation-of -
rights includes my claims for discrimination based on age and disability. (In Neiman, the
Connecticut Supreme Court held that a plaintiff challenging Yale’s failure to offer her a tenured
appointment could not assert her claims of breach of contract, breach of the implied covenant of
good faith and fair dealing, and negligent mist epresentation because she had not exhausted her

remedies under the Yale Faculty Handbook,**)

For example, and without limitation, given that the Harte Committce’s found that the Office of
General Counsel had advised the SOM deans on how to present the reappointment decision to
the BPO, I must at least raise at this juncture the possibility, however remote, of certain personal
‘conflicts potentially involving Ms. Sawyer, counsel to a panel of the University-Wide Committee
on Sexual Misconduct on which I served (the “UWC Panel”), and Ms. Hendel, who is handling a
legal claim against Yale University brought by the complainant in that same proceeding. (I know
that you have seen the confidential report by the UWC Panel and trust that you are also aware of
the legal action against the University, which Ms. Hendel described in a confidential email to the
members of the UWC Patel. If you do not have a copy of her email, { can provide one upon.
request)

During the UWC Panel hearing, ] argued that the Office of General Counsel had a conflict
because it was advising both the University and a panel charged with deciding, among other
matters, whether the University had responded appropriately to alleged instances of sexual
misconduct by a University employee, After I suggested that independent outside counsel should
be retained to advise the Panel on certain matters of law and fact, UWC Secretary Brian Lizotte
left the room to consult with Ms. Sawyer, Upon his return, he reported that she had
acknowledged her conflict. I was also a primary drafter of the UWC Panel report and shepherded
it through multiple rounds of comments from fellow panelists and Mr. Lizotte, I do not know the
extent, if any, that Mr. Lizotte consulted with Ms. Sawyer before giving the members of the
Panel feedback on the multiple drafts of the Panel report.

At this junction, | have no way of knowing whether, if at all, my service on the UWC Panel may
have had any possible effect (conscious or unconscious) on the independent judgment of any
member of the Office of General Counsel in connection with either the advice given the SOM
deans or the Harte Committee, Depending on the extent, if any, that this may have occurred, this
may constitute retaliation in violation of the Yale policies, Yale’s agreement with the OCR, and

federal and state law.

 

57 970 Conn. 244 (2004).
4 The court explained that “these internal procedures do not preclude access to the courts should the grievant be

dissatisfied with the ultimate result. They merely ensure that the grievant and the school have an opportunity to
resolve the dispute before seeking redress in the courts, thereby conserving judicial resources,” Jd. at 256.

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VHI. Conelusion

The Harte Report is a stunning indictment of SOM from within the University itself by a very
distinguished panel that acted, if anything, over-judiciously in the University’s favor and in
understated terms. The damning nature of their fact-findings is further confirmed by the fact that
the Harte Committee was given the wrong burden-of-proof standard for making its assessment.
Moreover, contrary to what the SOM deans, based primarily on representations from Professoi
Rae, stated about the alleged “failure” of the Spring 2012 State and Society course, the course
evaluations were in fact positive, The SOM deans have not offered any credible evidence to
support a nondiscriminatory explanation for their decision. Even if they had, my refutation of
that explanation would have to meet only a preponderance-of-the-evidence standard.

While there was no failure of the State and Society course in the spring of 2012 (or at any other
time after I joined the teaching team), the SOM deans announced to the BPO, apparently at the
very meeting at which the vote on my renewal was taken, that I would no longer be teaching that
course. They also asserted this alleged failure to the Harte Committee as a major ground for’
Dean Snyder’s decision not to reappoint me. Yet, according to the Committee’s own findings,
the SOM deans took no steps to investigate the reasons for that alleged “failure” or to afford me
even a simple opportunity to address that issue before either the BPO vote on May 7 or the final
decision not to renew my appointment communicated by Dean Snyder in his letter to me dated
May 24, 2012. .

The Commnittee’s findings alone give more than enough ground to support the conclusion that the
reasons provided by the deans for my nonrenewal were, in fact, a pretext for gender-based
discrimination in violation of Yale’s own policies and applicable federal and state law. In
particular, the Commiittee found ample evidence of facts constituting a hostile environment to
women at SOM, It also recognized that “shifts in the criteria for positions as a result of a
person’s gender and behavior can occur, as noted in connection with the Price Waterhouse case
raised by Professor Bagley and as documented in extensive work completed by Dr. Monica
Biemat at the University of Kansas.” (Para. (5), p. 10.) Had the Committee been fully and
independently advised concerning the correct burden of proof and its responsibility to assess the
credibility of witnesses and been given al] the facts, | am confident that it would have found
conclusively that illegal sexual stereotyping, a hostile environment to women at SOM, and other
forms of gender discrimination were the real reasons for the decision not to reappoint me as
Professor in the Practice of Law and Management.

Moreover, Yale breached both my explicitly stated contractual rights and the implied covenant of
good faith and fair dealing. Dean Podolny had the authority to make the promises he made to

‘induce me to come to Yale. Jn reliance on those promises, | moved my young son from our
community near Boston; I did not pursue tenure opportunities in the Boston area; I devoted five
years to developing materials for a course unique to Yale SOM; and I spent hundreds of hours
developing and advocating for new Yale University-wide policies and procedures for dealing
with sexual misconduct,

Even if a fact finder concluded (contrary to the evidence and applicable law) that Dean Podolay
had neither actual nor apparent authority to bind the University to renewal based solely on my
performance, then Yale still had an obligation to disclose to me the fact that the language added
to the Appointment Letter to address this very concer did not protect me from non-renewal

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» based other factors, Otherwise, what Dean Podolny and Deputy Dean Garstka did tell me was
materially misleading and constituted negligent misrepresentation under Connecticut law.””

In short, the fact findings by the Committee in my favor confirm gender discrimination and
detrimental reliance on the promises made to me, and they should stand. Meanwhile, those
findings that the Committee said it could not conclusively make beyond a reasonable doubt
further support my position and could be established in my favor by applying the correct burden-
of-proof standard and the correct applicable law. For example, the Committee found that the
appointment letter was ambiguous. Had it construed that ambiguity against the drafter (Yale),
then it follows that the University breached my employment contract. Similarly, if that ambiguity
was not disclosed to me then there was negligent misrepresentation. Finally, the Committee
should be asked to reconsider those findings that do not support my position utilizing the correct
standard of proof by a preponderance of the evidence and in light of both all applicable law and
the documents attached hereto,

It is with the greatest reluctance that | request that you ask the Harte Committee to review even
this small subset of its findings. I have no desire to prolong this procedure any more than
absolutely necessary, It has already taken a toll on both my fourteen-year-old son and me, Nor do
1 want to unnecessarily burden either you or the Committee. However, there appears to be no
alternative way to obtain the full and complete report done under proper legal standards to which
T am entitled under the Faculty Handbook.

Finally, I would respectfully request that you consider asking the Harte Committee to address
issues respecting potential destruction or non-production of relevant documents, with the
assistance of independent outside counsel. If any destruction or non-production occurred, it has
sériously compromised this review process.

Respectfully submitted on December 17, 2012,

Constance E. Bagley |
Professor in the Practice of Law and Management
Yale School of Management

 

391 am in no way impugning the integrity of either Dean Podolny or Deputy Dean Garstka. The courts have made it
clear that a principal can be liable for negtigent misrepresentation even wheu the agent did not knowingly mistead,
See, e.g., D’Ulisse-Cupo v. Beard of Directors of Notre Dame High School, 202 Conn, 206 (1987) (holding that
“even an innocent misrepresentation of fact ‘may be actionable if the declarant has the means of knowing, ought to
know, or has the duty of knowing the truth’”) {internal citations omitted).

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Attachments:
Exhibit 1:
Bxhibit 2:

Exhibit 3:
Exhibit 4:
Exhibit 5:

| |

SOM Summary Course Evaluations for the 2011-2012 Academic Year

Spring 2012 State and Society Course Evaluations (as attached to email from Ms,
Hahn) . 2 . - . . * . yee . rs + os eee . . .

SOM Summary Course Evaluations for the 2010-2011 Academic Year
Draft State and Society Syllabus Dated February 24, 2012

State and Society Syllabus Posted by Professor Rae on Classes v2 _

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Appendix A: Brief Summary of My Scholarship, Teaching, and University Service

Although I have been advised that the Bracken Report describes my scholarship, teaching, and
university service in detail, | provide a brief summary below. —

Scholarship : sees ens

During my initial term at Yale, my publications included the Academy of Management Review
article entitled “Winning Legally: The Value of Legal Astuteness,” the American Business Law
Journal acticte “What’s Law Got to Do with It: Integrating Law and Strategy,” the sixth and
seventh editions of Managers and the Legal Environment; Strategy for the 21 * Century, and the
fourth edition of The Entrepreneur’s Guide to Business Law as well as multiple Yale SOM cases
and technical notes for the State and Society course. In 2010, I received an honorary doctorate in
economics from Lund University. I was elected President of the Academy of Legal Studies in
Business in August 2011 and served in that capacity for the full one-year ferm ending in August
2012,

Teaching

I won the award for “Excellence in Teaching” in 2008. My teaching evaluations for all my
courses, other than Spring 2012 State and Society, should be in the Bracken Report.

For example, in Fali 2011, I taught (as sole instructor) the elective Legal Aspects of
Entrepreneurship. As reported on Exhibit 3, the mean instructor rating for Legal Aspects of
Entrepreneurship was 4.9 (with a median of 5) and the mean course rating was 4.7 (witha
median of 5). I discussed my Spring 2012 evaluations for State and Society in Part IV.

University Service

I served as the co-chair of the Yale Women Faculty Forum Working Group on Sexual
Misconduct and was the primary drafter of its report on sexual misconduct at Yale. I am a core
member of the University-Wide Committee on Sexual Misconduct and have served on nmultiple

UWC panels.

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Appendix B: Core Courses Taught in the 2011-2012 Academic Year with Lower Teaching
Evaluations than Spring 2012 State and Society

During the 2011-2012 academic year, a number of other core courses taught by full professors
received lower ratings than State and Society. ‘They included Integrated Leadership Perspective, |

iaiight by Professor Will Goetzmann, with a mean course rating of 3.1, a median course rating of

3.0, a mean instractor rating of 3.4, and median instructor rating of 4. 0; Sourcing and
Managing Funds, as taught by Deputy Dean Geert Rouwenhorst, with a mean course rating of
3.3, a median course rating of 3.0, a mean instructor rating of 3.3, and a median instructor rating
of 3.0; Sourcing and Managing Funds, as taught by Professor Thomas, with a mean course
tating of 3.3, a median course rating of 3,0, a mean instructor rating of 3.8, and a median
instructor rating of 4.0; and Customer, as taught by Professor Sudhir, with a mean course rating
of 3.1, a median course rating of 3.0, a mean instructor rating of 3.0, and a median instructor
rating of 3.0.

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_ Appendix C: Analysis of the Breach of my Voting Rights

The Appointment Letter expressly granted me the right to vote on ali matters with the “other
full-time members of the senior faculty” (Appointinent Letter, emphasis added) other than tenure
appointments. The Committee reasoned that this provision was invalid because it would give me
superior tights to other Professors in the Practice, I must respectfully disagree, First, I should not
be denied my contractual rights just because other Professors in the Practice may not have
secured express contractual language on this point as a condition to joining the SOM faculty.
Second, the SOM deans could have avoided affording me ri ights not shared by other Professors in
the Practice by simply continuing the policy followed by Dean and Professor in the Practice Jeff
Garten and Dean Podolny of giving all Professors in the Practice the ri ight to vote at all meetings
of the full professors otherthan the right to vote on tenure cases,

The Committee also questioned whether Dean Podolny had the actual authority to grant these
voting rights under the University’s bylaws. The Harte Report recites that Caroline Hendel
provided “relevant portions” of the University bylaws to the Committee (para. (2), p. 2) and
stated that they “entrust to the BPO ‘matters relating to the educational policy and government of

the school?” (para. (2), p. 5.}.

Ido not have a copy of the bylaws, but Section XI.B of the Faculty Handbook seems to
contemplate a comparable role when it provides that the Board of Permanent Officers at SOM
“participates in formulating educational policy and in recommending candidates for faculty
appointments,” Importantly, neither the quoted bylaw provision nor the Faculty Handbook states
that the BPO has the exclusive right to set educational policy and recommend candidates. To the
contrary, the Committee found: “The by-laws permit the BPO to refer to the faculty of the school
‘any matters except recommendations for appointments of Permanent Officers and the

assignment of Permanent Officers to the school.” (Para. (2), p. 5.) My Appointment Letter does
just that.

Nor is SOM unique in this regard. For example, the voting provisions applicable to FAS provide:
' “Consistent with department practices, faculty members in the adjunct, lector, and lecturer ranks
may, within their own ranks, vote on appointments and promotions to ranks of the type they hold
below or equivalent to their own, but they may not vote on reappointments to ranks equivalent to
their own.” (Section I'V.! of the Faculty Handbook.) Similarly, Section XULC of the Faculty
Handbook states that the permanent officers of the Medical Schoo! “may invite other faculty to
attend meetings of the Board and vote on appointments and promotion fo ranks below or equal to
their own. By longstanding policy, the Board of Permanent Officers has offered such rights to all
faculty who hold the ranks of associate professor with tenure and clinical professor.” Until
Sharon Oster replaced Joel Podolny as SOM Dean, SOM Professors in the Practice were
afforded the same voting rights given clinical professors at the Medical School, namely, the right
to vote on all matters with the other senior faculty except on tenure cases. Thus, implicit in BPO
approval of a candidate for Professor in the Practice was the grant of those voting rights. Finally,
as with the renewal criteria, even if Dean Podolny did not have actual authority to give me the _
voting rights set forth in the Appointment Letter, he clearly had the apparent authority to do so.

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